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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        )       CASE NO. 23-52262-SMS
                                              )
CWI CHEROKEE LF LLC,                          )       CHAPTER 11
                                              )
       Debtor.                                )       JUDGE SAGE M. SIGLER
                                              )
KOMATSU FINANCIAL LIMITED                     )
PARTNERSHIP,                                  )
                                              )
       Movant.                                )
                                              )
v.                                            )       CONTESTED MATTER
                                              )
CWI CHEROKEE LF LLC,                          )
                                              )
       Respondent.                            )

                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that Komatsu Financial Limited Partnership has filed a
Motion for Relief From the Automatic Stay Pursuant to 11 U.S.C. § 362 and related papers
with the Court seeking an Order granting Komatsu Financial Limited Partnership relief from the
automatic stay with respect to the Financed Equipment (the “Motion”).

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following toll-free number: (833) 568-8864;
Meeting ID 161 179 4270, at 10:00 a.m. on May 17, 2023 in Courtroom 1201, United States
Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the “Hearing
Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your views, then you and/or
your attorney must attend the hearing. You may also file a written response to the pleading with
the Clerk at the address stated below, but you are not required to do so. If you file a written
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response, you must attach a certificate stating when, how and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy
Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of
your response to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.


Dated: April 20, 2023                                Respectfully submitted,

                                                     BAKER, DONELSON, BEARMAN,
                                                     CALDWELL & BERKOWITZ, P.C.

                                                     /s/ Kathleen G. Furr
                                                     Kathleen G. Furr
                                                     Georgia Bar No. 589008
                                                     Baker Donelson
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                                                     kfurr@bakerdonelson.com

                                                     Counsel for Movant Komatsu Financial
                                                     Limited Partnership
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                         )      CASE NO. 23-52262-SMS
                                               )
CWI CHEROKEE LF LLC,                           )      CHAPTER 11
                                               )
         Debtor.                               )      JUDGE SAGE M. SIGLER
                                               )
KOMATSU FINANCIAL LIMITED                      )
PARTNERSHIP,                                   )
                                               )
         Movant.                               )
                                               )
v.                                             )      CONTESTED MATTER
                                               )
CWI CHEROKEE LF LLC,                           )
                                               )
         Respondent.                           )

          MOTION OF KOMATSU FINANCIAL LIMITED PARTNERSHIP
     FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362

         Komatsu Financial Limited Partnership (“Komatsu”) hereby submits its motion (the

“Motion”) for relief from the automatic stay pursuant to 11 U.S.C. § 362. In support of this

Motion, Komatsu respectfully represents as follows:

                                         JURISDICTION

         1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter constitutes a core proceeding under 28 U.S.C. § 157(b)(2).

         2.      Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

A.       The Contracts with Non-Debtor Parties.

         3.      For good and valuable consideration, CWI Alabama, LLC (“CWI Alabama”) made,

executed, and delivered to Komatsu (as assignee of Tractor & Equipment Company) four (4)

Security Agreement – Conditional Contracts (collectively, the “Finance Contracts”), pursuant to


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which it purchased certain equipment and agreed to pay to Komatsu certain amounts set forth

therein.

       4.         Pursuant to the Finance Contracts, as security for the repayment of the indebtedness

and all other obligation of every type of CWI Alabama to Komatsu, CWI Alabama granted to

Komatsu a purchase money, first priority lien on and security interest in the following equipment

(collectively, the “Financed Equipment”):

       Security
                                                 Financed Equipment
      Agreement
                            One (1) Komatsu PC490LC-10 Hydraulic Excavator (Serial No.
                           A40251); One (1) Komatsu D61PX-23 Crawler Dozer (Serial No.
            005
                          31458); and One (1) Komatsu D85PX-18 Crawler Dozer (Serial No.
                                                      23107)
            006            One (1) Komatsu HM400-5 Articulated Truck (Serial No. 10282)
            007             One (1) Komatsu WA270-8 Wheel Loader (Serial No. A29061)
            009            One (1) Komatsu D61PXI-24 Crawler Dozer (Serial No. B60660)

       5.         For good and valuable consideration, CWI Alabama made, executed, and delivered

to Komatsu (as assignee of Tractor & Equipment Company) three (3) Parts & Service Security

Agreement – Conditional Sales Contracts, and CWI Enterprises, LLC (“CWI Enterprises”,

together with CWI Alabama, the “Non-Debtor Parties”) made, executed, and delivered to Komatsu

one (1), Parts & Service Security Agreement – Conditional Sales Contracts (the “Parts & Service

Contracts”), pursuant to which they agreed to pay to Komatsu certain amounts set forth therein.

       6.         Pursuant to the Parts & Service Contracts, as security for the repayment of the

indebtedness and all other obligation of every type of the Non-Debtor Parties to Komatsu, the Non-

Debtor Parties granted to Komatsu a security interest in the following equipment:

        Service
                                                   Financed Equipment
       Agreement
          002
                                       Secured by Contract 005 and 006 Equipment
    (CW Enterprises)
          011
                                            Secured by Contract 005 Equipment
     (CW Alabama):

                                                   2
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        Service
                                                Financed Equipment
       Agreement
          012
                                          Secured by Contract 009 Equipment
     (CW Alabama):
          013                         Secured by Contract 006 and 007 Equipment
     (CW Alabama):                     and certain of the Contract 005 Equipment

       7.      For good and valuable consideration, CWI Alabama also made, executed, and

delivered to Komatsu a Cross Collateral Security Agreement dated August 31, 2020 (the “Cross

Collateral Security Agreement”, together with the Finance Contracts and Parts & Service

Contracts, the “Contracts”), pursuant to which, among other things, CWI Alabama agreed that (i)

each unit of the Financed Equipment shall secure CWI Alabama’s payment and performance under

each of the Contracts, (ii) a default by CWI Alabama under any one or more of the aforementioned

Contracts shall constitute a default by CWI Alabama under each of the aforementioned Contracts,

and (iii) Komatsu has a first-priority lien on all of the Financed Equipment.

       8.      Due to the assignments, Komatsu is the proper party-in-interest.

       9.      To notify others of its security interest in the Financed Equipment, Komatsu filed

UCC Financing Statements regarding the Financed Equipment (the “Financing Statements”) with

the Secretary of State of Alabama (for the Contract 005, 006, 007, 009, 011, 012 and 013

Equipment) and Georgia (for the Contract 002 Equipment).

       10.     Copies of the Finance Contracts, Parts & Service Contracts, Assignments, Cross

Collateral Security Agreement, and Financing Statements are annexed as Exhibit A to the

Declaration of Jason Lee in Support of the Motion (the “Lee Dec.”), submitted herewith and

incorporated by reference herein.

       11.     Komatsu maintains its purchase money security interest in the Financed

Equipment.

       12.     Pursuant to the Contracts, CW Alabama is the owner of the Financed Equipment.


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B.     The Debtor’s Possession of the Financed Equipment and Bankruptcy Filing.

       13.     Following the petition date of March 7, 2023 (the “Petition Date”), Komatsu was

informed that CWI Cherokee LF LLC (the “Debtor”) was in possession of the Financed Equipment

and, upon information and belief, still is.

       14.     The Debtor is not a party to the Contracts. The Contracts prohibit CWI Alabama

from transferring the Financed Equipment to a third party without Komatsu’s written consent, and

at no point has Komatsu consented to Debtor’s possession or use of the Financed Equipment.

       15.     Furthermore, prior to the Petition Date, and with the exception of Contract 006,

CW Alabama failed to make its required monthly payments for the Contracts in January 2023, and

each month thereafter.

       16.     As a result of the breach, the Contracts and the Uniform Commercial Code permit

Komatsu, as the secured party, to exercise all of its rights and remedies against the Financed

Equipment.

                                      RELIEF REQUESTED

       17.     By this Motion, Komatsu moves for entry of an order granting it immediate relief

from the automatic stay pursuant to Section 362(d)(2) of the Bankruptcy Code to allow it to retrieve

and dispose of the Financed Equipment in accordance with the Contracts and applicable law.

                              BASIS FOR RELIEF REQUESTED

       18.     Pursuant to Section 362(d) of the Bankruptcy Code:

               On request of a party in interest and after notice and a hearing, the
               court shall grant relief from the stay… such as by terminating,
               annulling, modifying, or conditioning such stay—

               (1) for cause, including lack of adequate protection of an interest in
               property of such party in interest;

               (2) with respect to a stay of an act against property…, if—


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                       (A) the debtor does not have an equity in such property; and

                       (B) such property is not necessary to an effective
                       reorganization….

11 U.S.C. § 362(d).

       19.     Pursuant to Section 362(d)(2) of the Bankruptcy Code, relief from the automatic

stay must be granted if (i) the debtor lacks equity in property and (ii) such property is not necessary

for an effective reorganization. 11 U.S.C. § 362(d)(2).

       20.      Accordingly, under Section 362(d) of the Bankruptcy Code, a creditor may obtain

relief from the stay when the debtor has no equity in the property and the property is not necessary

to an effective reorganization that is in prospect. See 11 U.S.C. § 362(d); see also United Savings

Ass’n of Texas v. Timbers of Inwood Forest Assocs., Ltd., 484 U.S. 365, 375-76, 108 S.Ct. 626, 98

L.Ed.2d (1988).

       21.      Regarding the burdens on each party in a hearing for relief under Section 362(d)(2),

Section 362(g) of the Bankruptcy Code states:

               (1) the party requesting such relief has the burden of proof on the issue of the

       debtor's equity in property; and

               (2) the party opposing such relief has the burden of proof on all other issues.

11 U.S.C. 362(g).

       22.     Here, Komatsu easily satisfies its burden: Debtor has no equity in the Financed

Equipment because it did not hold title to it as of the Petition Date. In re Hamilton, No. BAP CC-

04-1434-MATK, 2005 WL 6960211, at *4 (B.A.P. 9th Cir. Aug. 1, 2005). Additionally, Debtor

has filed its Schedules [Dkt. No. 65], which does not reference Komatsu as a creditor or the

Financed Equipment as assets.




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       23.     The burden now shifts to Debtor to prove that the Financed Equipment is necessary

to the Debtor’s effective reorganization in prospect. The Debtor is unlikely to make a showing

that it can generate sufficient funds to service the Contracts, as Komatsu has not received any of

the monthly payments due and owing under the Contracts subsequent to the Petition Date.

       24.     Based upon the foregoing, Komatsu requests that this Court lift the automatic stay

immediately to permit Komatsu to enforce its rights under the Contracts and applicable law,

including without limitation, the right to repossess and dispose of the Financed Equipment.

       25.     Moreover, and notwithstanding Rules 4001(a)(3) or 7062 of the Federal Rules of

Bankruptcy Procedure, grounds exist for any order lifting the automatic stay pursuant to this

Motion to be effective immediately.

       WHEREFORE, for all the reasons set forth herein, Komatsu respectfully requests that

this Court enter an Order (i) immediately terminating the automatic stay pursuant to Section 362(d)

of the Bankruptcy Code to allow Komatsu to repossess and dispose of the Financed Equipment

and enforce any and all rights and remedies available to Komatsu under the Contracts, (ii) waiving

the requirements of Federal Rule of Bankruptcy 4001(a)(3) so that Komatsu can immediately

enforce, implement, and otherwise act upon the Order, and (iii) granting such other and further

relief as this Court deems just and appropriate.



Dated: April 20, 2023                                  Respectfully submitted,

                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.

                                                       /s/ Kathleen G. Furr
                                                       Kathleen G. Furr
                                                       Georgia Bar No. 589008
                                                       Baker Donelson
                                                       Monarch Plaza,


                                                   6
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                                            Limited Partnership




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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        )       CASE NO. 23-52262-SMS
                                              )
CWI CHEROKEE LF LLC,                          )       CHAPTER 11
                                              )
        Debtor.                               )       JUDGE SAGE M. SIGLER
                                              )
KOMATSU FINANCIAL LIMITED                     )
PARTNERSHIP,                                  )
                                              )
        Movant.                               )
                                              )
v.                                            )       CONTESTED MATTER
                                              )
CWI CHEROKEE LF LLC,                          )
                                              )
        Respondent.                           )

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 20, 2023, I electronically filed the foregoing Notice of

Hearing and Motion of Komatsu Financial Limited Partnership for Relief from the Automatic

Stay Pursuant to 11 U.S.C. § 362 with the Clerk of Court and served the same on the below

individuals either (1) by first-class United States mail, with adequate postage prepaid, or (2) as to

Registered Users of the Court's ECF program, by notice of electronic filing pursuant to BLR 5005-

8(b):

        CWI Cherokee LF LLC                               Jonathan A Akins
        3284 Northside Parkway, Suite 600                 John A. Christy
        Atlanta, GA 30327                                 Schreeder, Wheeler & Flint, LLP
                                                          Suite 800
                                                          1100 Peachtree Street NE
                                                          Atlanta, GA 30309

        Alan Hinderleider                                 Attached mailing matrix for the 20 largest
        Office of the United States Trustee               unsecured creditors
        362 Richard B Russell Federal Building
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      75 Ted Turner Drive, S.W.
      Atlanta, GA 30303



      Respectfully submitted,

                                               BAKER, DONELSON, BEARMAN,
                                               CALDWELL & BERKOWITZ, P.C.

                                               /s/ Kathleen G. Furr
                                               Kathleen G. Furr
                                               Georgia Bar No. 589008
                                               Baker Donelson
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                                               Counsel for Movant Komatsu Financial
                                               Limited Partnership
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